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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

AMERICANS FOR BENEFICIARY
CHOICE,
et al.

       Plaintiff,                                   Civil Action No. 4:24-CV-439-O

v.

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

       Defendants.


COUNCIL FOR MEDICARE CHOICE, et al.

       Plaintiff,
                                                    Civil Action No. 4:24-CV-446-O
v.

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

       Defendants.


                                            ORDER

       Having received the parties’ joint scheduling proposal filed in the above cases, the Court

enters the following schedule:

       Aug. 30, 2024     Defendants file remainder of administrative record

       Sept. 27, 2024    Plaintiffs file separate motions for summary judgment

       Nov. 8, 2024      Defendants respond to plaintiffs’ motions / file cross-motion for
                         summary judgment

       Dec. 20, 2024     Plaintiffs separately reply / respond to cross-motion

       Jan. 24, 2025     Defendants file reply in support of cross-motion



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       The Court also notes and confirms that, per the agreement of the parties, the filing of an

answer by Defendants is not necessary in these cases.

       SO ORDERED on this 18th day of July, 2024.




                                                    _____________________________________
                                                    Reed O’Connor
                                                    UNITED STATES DISTRICT JUDGE




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